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                             UNITED STATES DISTRICT COURT
                             SOUTHERN DISTRICT OF FLORIDA

                                 CASE NO. 18-24190-CIV-SMITH

  WILLIAM O. FULLER, et al.,

         Plaintiffs,

  v.

  JOE CAROLLO,

         Defendant.

                                                   /

                                    ORDER OF REFERENCE

         It is ORDERED that all motions related to the Writ of Execution issued on January 9, 2024,

  including Defendant’s Motion to Quash, or in the Alternative for Partial Stay of, Writ of Execution

  [DE 600], Non-Parties’, Joe and Marjorie Carollo, a Married Couple as Tenants by the Entirety,

  and Marjorie Carollo, Individually, Motion for Protective Order [DE 601], Defendant’s Joe

  Carollo, Non-Party, Joe and Marjorie Carollo, a Married Couple as Tenants by the Entirety, and

  Non-Party, Marjorie Carollo, Individually, Expedited Motion to Quash, to Stay, and/or for

  Protective Order [DE 602], and Plaintiffs’ Motion to Compel Defendant’s Production of

  Documents in Aid of Execution [DE 603], and all related motions are REFERRED to Magistrate

  Judge Louis for a ruling on all non-dispositive matters and for a Report and Recommendation on

  any dispositive matters.

         DONE and ORDERED in Fort Lauderdale, Florida, this 31st day of January, 2024.




  cc:    All Counsel of Record
